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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DANIEL E. BRANNEN,                             :
           Plaintiff                           :          No. 1:17-cv-00714
                                               :
              v.                               :          (Judge Kane)
                                               :
BRITISH AIRWAYS PLC and                        :
VIKING RIVER CRUISES, INC.,                    :
           Defendants                          :


                                           ORDER

       AND NOW, on this 1st day of November 2017, IT IS ORDERED THAT Defendants

British Airways PLC and Viking River Cruises, Inc.’s motions to dismiss (Doc. Nos. 7, 22), are

GRANTED. IT IS FURTHER ORDERED THAT Plaintiff’s complaint is DISMISSED

WITH PREJUDICE. The Clerk is directed to CLOSE this case.


                                                          s/ Yvette Kane
                                                          Yvette Kane, District Judge
                                                          United States District Court
                                                          Middle District of Pennsylvania
